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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  Case No.: 1:23-CV-23933-FAM

      SUCESIÓN SIMON DIAZ MARQUEZ,

             Plaintiff,
      v.

      MIAMI FINE FOODS, LLC and AVI ASSOR,

             Defendants.
                                                   /

        ORDER GRANTING MIAMI FINE FOODS, LLC’s MOTION FOR ORDER
       AUTHORIZING ALTERNATIVE SERVICE OF PROCESS ON THIRD-PARTY
                      DEFENDANT BETTSYMAR DIAZ

             THIS MATTER having come before the Court upon the motion of

      Defendant/Counter-Plaintiff Miami Fine Foods, LLC (“MFF”) for an order authorizing

      alternative service of process on Third Party Defendant Bettsymar Diaz (“Diaz”); and the

      Court having considered the moving papers and there being no opposition thereto;

             IT IS HEREBY ORDERED that MFF’s Motion for Order Authorizing Alternative

      Service of Process on Third Party Defendant Bettsymar Diaz is hereby entered in favor of

      MFF. MFF shall serve Diaz with copies of the Summons, Complaint, and all filings and

      discovery in this matter via email at bettsimar.diaz@gmail.com, with confirmation via First

      Class U.S. mail at 3921 N. Meridian Ave, Apt. A, Miami Beach, FL 33140.

             DONE AND ORDERED in Chambers at Miami, Florida, this ___ day of

      _________, 2024.


                                                   Hon. Federico A. Moreno
                                                   United States Senior District Judge
      Copies furnished to:
      All Counsel of Record
